        Case 19-16697-mdc                     Doc 9        Filed 11/18/19 Entered 11/18/19 17:30:34                                 Desc Ch 13
                                                             First Mtg Page 1 of 2
Information to identify the case:
Debtor 1                 Rhodie I. Bruce                                                        Social Security number or ITIN    xxx−xx−1387

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Eastern District of Pennsylvania
                                                                                                Date case filed for chapter 13 10/28/19
Case number:          19−16697−mdc



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Rhodie I. Bruce

2. All other names used in the
   last 8 years
                                              810 West Cobbs Creek Parkway
3. Address                                    Yeadon, PA 19050
                                              BRAD J. SADEK                                                 Contact phone 215−545−0008
                                              Sadek and Cooper
4. Debtor's  attorney
   Name and address
                                              1315 Walnut Street                                            Email: brad@sadeklaw.com
                                              Suite 502
                                              Philadelphia, PA 19107

5. Bankruptcy trustee                         WILLIAM C. MILLER, Esq.                                       Contact phone 215−627−1377
     Name and address                         Chapter 13 Trustee
                                              P.O. Box 1229                                                 Email: ecfemails@ph13trustee.com
                                              Philadelphia, PA 19105

6. Bankruptcy clerk's office                                                                                Hours open:
     Documents in this case may be filed                                                                    Philadelphia Office −− 8:30 A.M. to 5:00 P.M
     at this address.                         900 Market Street                                             Reading Office −− 8:00 A.M. to 4:30 P.M.
     You may inspect all records filed in     Suite 400
     this case at this office or online at    Philadelphia, PA 19107                                        Contact phone (215)408−2800
      www.pacer.gov.
                                                                                                            Date: 11/19/19

                                                                                                                  For more information, see page 2




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Debtor Rhodie I. Bruce                                                                                                                     Case number 19−16697−mdc

7. Meeting of creditors                                                                                                 Location:
   Debtors must attend the meeting to     January 8, 2020 at 9:00 AM                                                    Suite 18−341, 1234 Market Street,
   be questioned under oath. In a joint                                                                                 Philadelphia, PA 19107
   case, both spouses must attend.
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If
   required to do so.                     so, the date will be on the court docket.
8. Deadlines                               Deadline to file a complaint to challenge                                      Filing deadline: 3/8/20
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                            Filing deadline: 1/6/20
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                             Filing deadline: 4/25/20
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                              Filing deadline:       30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                                    conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                                     meeting of creditors
                                           may file an objection.

9. Filing of plan                         The debtor has filed a plan.This plan proposes payment to the trustee of $300.00 per month for 60 months. The plan is enclosed.
                                          The hearing on confirmation will be held on:
                                          1/30/20 at 9:30 AM , Location: Courtroom #2, 900 Market Street, Philadelphia, PA 19107
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                           does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




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